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                                                                        United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                            November 12, 2015
                        UNITED STATES DISTRICT COURT
                                                                            David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION

MIGUEL DOMINGUEZ, et al,                   §
                                           §
        Plaintiffs,                        §
VS.                                        § CIVIL ACTION NO. 7:15-CV-160
                                           §
ASI LLOYDS,                                §
                                           §
        Defendant.                         §




       SO ORDERED this 12th day of November, 2015, at McAllen, Texas.


                                           ___________________________________
                                           Randy Crane
                                           United States District Judge




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